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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                WICHITA FALLS DIVISION

    IVANA D. RINEHART,                             §
                                                   §
           Plaintiff,                              §
                                                   §
    v.                                             §   Civil Action No. 7:18-cv-00171-O
                                                   §
    ALLIANCEONE RECEIVABLES                        §
    MANAGEMENT, INC,                               §
                                                   §
           Defendant.                              §


                                               ORDER

           Before the Court is Plaintiff’s Unopposed Motion for Leave to File a Document Under Seal

(ECF No. 19), filed May 6, 2019. In the motion, Plaintiff’s attorneys ask the Court to file their

motion to withdraw as counsel under seal in order to protect their personal information. Plaintiff’s

attorneys explain they seek to withdraw because Plaintiff has not responded to any phone calls,

text messages, or emails for several weeks. Absent extraordinary circumstances, this Court’s local

rules require Plaintiff’s consent before her attorneys may withdraw. See LR 83.12. Accordingly,

the Court ORDERS Plaintiff to file a status report with the Court on or before May 27, 2019.

The report should indicate whether she consents to her attorneys’ withdrawal and whether she

intends to continue this litigation.1 The Court ORDERS Plaintiff’s attorneys to provide this order

to Plaintiff in any manner reasonably calculated to provide her notice and to then file on the docket

of this case a notice explaining how they provided her notice.

           SO ORDERED on this 13th day of May, 2019.          _____________________________________
                                                              Reed O’Connor
                                                              UNITED STATES DISTRICT JUDGE
1
  The Court defers ruling on the motion for leave and the motion to withdraw until it receives this
information from Plaintiff.
                                                1
